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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:                                   )
                                          )
 11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
 EIN XX-XXXXXXX                           )      Chapter 11
                                          )
 Debtor.                                  )


 MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER WITH RESPECT TO THE
 FIRST AND FINAL APPLICATION FOR ALLOWANCE AND PAYMENT OF COMPENSA-
 TION AND REIMBURSEMENT OF EXPENSES OF WEINMAN & ASSOCIATES, P.C.
 AND REQUEST FOR ENTRY OF ORDER


       On November 16, 2018, Weinman & Associates, P.C., counsel for Debtor-in-
 Possession, 11380 Smith Rd LLC (“Movant”), filed a motion or application pursuant to
 L.B.R. 9013-1 entitled: First and Final Application for Allowance and Payment of
 Compensation and Reimbursement of Expenses of Weinman & Associates, P.C. Movant
 hereby certifies that the following is true and correct:

        1.     Service of the motion/application, notice and proposed order were timely
 made on all parties against whom relief is sought and those otherwise entitled to service
 pursuant to the FED.R.BANKR.P. and the L.B.R. as is shown on the certificate of service,
 L.B. Form 9013-1.2, previously filed with the motion/application on November 16, 2018.

        2.     Mailing or other service of the notice was timely made on all other creditors
 and parties in interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted
 by an order of the court, a copy of which is attached), as is shown on the certificate of
 service, L.B. Form 9013-1.2, previously filed with the notice on November 16, 2018.

          3.   The docket numbers for each of the following relevant documents are:
               a.    the motion and all documents attached thereto and served therewith,
                     (Docket No. 144);
               b.    the certificate of service of the motion and all documents attached
                     thereto and served therewith, notice and proposed order, (Docket No.
                     144);
               c.    the notice, (Docket No. 145);
               d.    the certificate of service of the notice, (Docket No. 145);
               e.    the proposed order, (Docket No. 144); and

        4.    No objections to or requests for hearing on the motion/application were
 received by the undersigned, or filed with the court and docketed in the case file by the
 date designated in the notice.
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         WHEREFORE, Movant prays that the court forthwith enter an order, a form of which
 is attached to Docket No. 144, granting the requested relief.

 DATED: December 10, 2018

                                         Respectfully Submitted,

                                         WEINMAN & ASSOCIATES, P.C.



                                         By: /s/ Jeffrey A. Weinman
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